Case 2:16-cv-02106-PSG-SS   Document 40-6   Filed 09/02/16   Page 1 of 2 Page ID
                                   #:955




                        EXHIBIT 6
Case 2:16-cv-02106-PSG-SS                   Document 40-6                   Filed 09/02/16               Page 2 of 2 Page ID
                                                   #:956


               IJNI'1'Rll STAIwc4 PAIwNT ANTI TIAIIk-imARK C)1,11flp
                                                                                        UNITED STATES DEPARTMENT OF COMMERCE
                                                                                        United States Patent and Trademark Office
                                                                                        Address: COMMISSIONER FOR PATENTS
                                                                                               P.O.Box 1450
                                                                                               Alexandria, Virginia 22313-1450
                                                                                               wvmus?to.grov

     APPLICATION NUMBER            FILING OR 371(C) DATE                 FIRST NAMED APPLICANT               ATTY. DOCKET NO./TITLE

         14/678,815                    04/03/2015                           Shlomo Gonen                      082797-8001.US06
                                                                                               CONFIRMATION NO. 2391
 111440                                                                                PUBLICATION NOTICE
 Perkins Coie - Telesign Corporation
 P. O. Box 1247
 Seattle, WA 98111-1247
                                                                                          111111   1111,11               1!RO
                                                                                                        1,11,11u1,1,111,111.    1111 111111




 Title:REGISTRATION, VERIFICATION AND NOTIFICATION SYSTEM
 Publication No.US-2015-0215889-Al
 Publication Date:07/30/2015


                              NOTICE OF PUBLICATION OF APPLICATION
 The above-identified application will be electronically published as a patent application publication pursuant to 37
 CFR 1.211, et seq. The patent application publication number and publication date are set forth above.
 The publiccit;.1J11 may be aGGCCO through the LJSPTO's publican.' available Searchable Databases via the
 Internet at www.uspto.gov. The direct link to access the publication is currently http://www.uspto.gov/patft/.

 The publication process established by the Office does not provide for mailing a copy of the publication to
 applicant. A copy of the publication may be obtained from the Office upon payment of the appropriate fee set forth
 in 37 CFR 1.19(a)(1). Orders for copies of patent application publications are handled by the USPTO's Office of
 Public Records. The Office of Public Records can be reached by telephone at (703) 308-9726 or (800) 972-6382,
 by facsimile at (703) 305-8759, by mail addressed to the United States Patent and Trademark Office, Office of
 Public Records, Alexandria, VA 22313-1450 or via the Internet.
 In addition, information on the status of the application, including the mailing date of Office actions and the
 dates of receipt of correspondence filed in the Office, may also be accessed via the Internet through the Patent
 Electronic Business Center at www.uspto.gov using the public side of the Patent Application Information and
 Retrieval (PAIR) system. The direct link to access this status information is currently http://pair.uspto.gov/. Prior to
 publication, such status information is confidential and may only be obtained by applicant using the private side of
 PAIR.
 Further assistance in electronically accessing the publication, or about PAIR, is available by calling the Patent
 Electronic Business Center at 1-866-217-9197.



 Office of Data Managment, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                           page 1 of 1




                                                                                                                               TIFW01187
                                                                                                                                              Ex. 6 -
                                                                                                                                              p. 094
